     23-03004-cgb Doc#139-5 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 5. DIP Order
                                         Pg 1 of 10
EXHIBIT 5 - DIP ORDER (DKT. 43)




      The relief described hereinbelow is SO ORDERED.



      Signed April 12, 2021.

                                                           __________________________________
                                                                  H. CHRISTOPHER MOTT
                                                           UNITED STATES BANKRUPTCY JUDGE
      ________________________________________________________________
                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         EL PASO DIVISION

       IN RE:                                        §
                                                     §
       PDG PRESTIGE, INC.,                           §                 Case No. 21-30107
                                                     §
       Debtor.                                       §
                                                     §

              FINAL ORDER GRANTING MOTION OF DEBTOR TO (I) ENTER INTO
              DEBTOR POSSESSION CREDIT AGREEMENT, (II) GRANT PRIMING
              LIENS UNDER CODE SEC. 364(D), AND (III) PROVIDE RELATED
              RELIEF (RE: DOCKET NO. 24)

              On April 12, 2021 the Court conducted an expedited hearing regarding the Motion to
      (I) Enter into Debtor Possession Credit Agreement, (II) Grant Priming Liens Under Code Sec.
      364(d), and (III) Provide Related Relief (Docket No. 24) (the “DIP Motion”) filed herein on
      March 26, 2021 by PDG-Prestige, Inc., debtor and debtor in possession (the “Debtor” or “PDG”)
      seeking entry of a final order for, inter alia:

              1.     authorizing the Debtor to obtain postpetition financing, consisting of senior
      secured superpriority term loans (the “DIP Loans”) in an aggregate maximum amount of
      $4,700,000 (the “DIP Commitment”), from certain investment fund(s) for which Legalist DIP
      GP, LLC serves as general partner (as lender, agent, and collateral agent, the “DIP Lender”), as
      provided in that certain Debtor-in-Possession Term Loan Credit Agreement, dated as of the date
      hereof, among the Debtor and the DIP Lender (the “DIP Credit Agreement”), which DIP Credit
      Agreement was attached to the DIP Motion, and to incur the DIP Obligations contemplated
      thereby;




      ORDER GRANTING MOTION TO (I) ENTER INTO DEBTOR POSSESSION CREDIT AGREEMENT, (II) GRANT
      PRIMING LIENS UNDER CODE SEC. 364(D), AND (III) PROVIDE RELATED RELIEF — Page 1 1943767.DOCX [1]
23-03004-cgb Doc#139-5 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 5. DIP Order
                                    Pg 2 of 10



        2.      authorizing the Debtor to execute and enter into, and to perform all acts necessary
 or desirable to consummate the transactions contemplated by, the DIP Credit Agreement and
 other DIP Loan Documents;

       3.    authorizing the Debtor to use the proceeds of the DIP Loans, as permitted in the
 DIP Loan Documents;

        4.      providing that all DIP Obligations shall, pursuant to Section 364(c)(1) of Title 11
 of the United States Code, 11 U.S.C. §101 et seq. (the “Code”), constitute DIP Claims, payable
 from and having recourse to all property of the Debtor’s estate;

         5.     authorizing the Debtor to grant the DIP Lender automatically perfected DIP Liens
 (as defined below) in all DIP Collateral to secure pay of all DIP Obligations, comprising:

         (i)    pursuant to Code § 364(c)(2), senior DIP Liens on all DIP Collateral not subject
 to Existing Liens;

        (ii)    pursuant to Code § 364(c)(3), junior DIP Liens on all DIP Collateral subject to
 Existing Liens;

        (iii) pursuant to Code § 364(d)(1), equal DIP Liens on all DIP Collateral subject to
 Existing Liens, other than Permitted Senior Liens; and

        (iv)    pursuant to Code § 364(d)(1), senior DIP Liens on all DIP Collateral subject to
 Existing Liens, other than Permitted Senior Liens;

         6.     vacating and/or modifying the automatic stay, pursuant to Code § 362, to the
 extent necessary to (x) consummate the transactions contemplated by the DIP Loan Documents
 and (y) permit the DIP Lender to exercise any right or remedy provided therein;

        7.    approving all Cash-Management Requirements and the Debtor’s entry into the
 cash-management arrangements and DIP Blocked Account control agreements contemplated
 thereby; and

        8.      granting the Debtor such other and further relief as is just and proper.

         The Court finds and concludes that the Motion contained the appropriate notices under
 the Bankruptcy Local Rules; according to the certificate of service attached to the Motion, the
 Motion was served upon the parties entitled to receive notice under the Bankruptcy Local Rules;
 no party in interest filed a response or objection to the Motion or any such response or objection
 is overruled by this Order; and that upon review of the record of this case and with respect to the
 Motion that cause exists to grant the relief requested therein.

       All capitalized terms shall have the same meaning as ascribed to such terms in the
 Motion, unless otherwise defined herein.




 ORDER GRANTING MOTION TO (I) ENTER INTO DEBTOR POSSESSION CREDIT AGREEMENT, (II) GRANT
 PRIMING LIENS UNDER CODE SEC. 364(D), AND (III) PROVIDE RELATED RELIEF — Page 2 1943767.DOCX [1]
23-03004-cgb Doc#139-5 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 5. DIP Order
                                    Pg 3 of 10



 THE COURT HEREBY FINDS AND CONCLUDES THAT:

         1.      On February 15, 2021 (the “Petition Date”), the Debtor filed a voluntary petition
 in this Court for relief under Chapter 11 of the Code.

        2.      This Court has jurisdiction over the Case and the Motion under 28 U.S.C. §§
 157(b) and 1334, this matter is a core proceeding under 28 U.S.C. § 157(b)(2), venue is proper
 under 28 U.S.C. §§ 1408 and 1409, and the Court has authority to enter this Final DIP Order
 consistent with Article III of the United States Constitution.

        3.      An immediate and ongoing need exists for the Debtor to obtain postpetition
 financing in the amount of the DIP Commitment to reorganize under Bankruptcy Code
 Chapter 11, and the Debtor does not otherwise have sufficient funds available to pay
 administrative expenses in this Case.

        4.       The Debtor is unable to obtain unsecured credit under Code § 503 or other
 postpetition financing in the amount of the DIP Commitment on terms more favorable than those
 provided by the DIP Lender.

        5.     sufficient and adequate notice of the Motion and entry of this Final DIP Order has
 been given under Code § 364 and Federal Rules of Bankruptcy Procedure (the “Bankruptcy
 Rules”) 2002 and 4001, such that no other or further notice of the Motion or entry of this Final
 DIP Order is needed.

        6.      The terms of the DIP Loans, as set forth in the DIP Loan Documents, have been
 negotiated in good faith and at arm’s length between the Debtor and DIP Lender, and the DIP
 Lender is entitled to the protections of Code § 364(e) with respect to all DIP Loans, DIP Liens,
 DIP Claims, DIP Obligations, DIP Loan Documents, and rights and remedies of the DIP Lender.

         7.      The terms of the DIP Loans, as set forth in the DIP Loan Documents, are fair and
 reasonable and reflect the Debtor’s exercise of its prudent business judgment consistent with its
 fiduciary duties, and the DIP Lender has provided fair, adequate, and sufficient consideration
 that constitutes reasonably equivalent value for the DIP Liens, DIP Claims, and all other rights,
 protections, and benefits obtained by it under any DIP Loan Document.

        8.      Entry of this Final DIP Order is in the best interests of the Debtor’s estate and its
 various stakeholders because it will, inter alia, allow the Debtor to reorganize under Bankruptcy
 Chapter 11 of the Code; and

        9.      The DIP Lender is willing to provide the DIP Loans to the Debtor, but only on the
 terms of the DIP Loan Documents.

         10.    By stipulation with the DIP Lender, the Debtor is not a “single asset real estate”
 type of debtor as defined in Code § 101(51B).




 ORDER GRANTING MOTION TO (I) ENTER INTO DEBTOR POSSESSION CREDIT AGREEMENT, (II) GRANT
 PRIMING LIENS UNDER CODE SEC. 364(D), AND (III) PROVIDE RELATED RELIEF — Page 3 1943767.DOCX [1]
23-03004-cgb Doc#139-5 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 5. DIP Order
                                    Pg 4 of 10



 IT IS THEREFORE ORDERED THAT:

        1.     Any remaining objection to the Motion or entry of this Final DIP Order is hereby
               OVERRULED and the DIP Motion is GRANTED as set forth below.

        2.     The execution and delivery of the DIP Credit Agreement and all other DIP Loan
               Documents by the Debtor is authorized and approved, and the Debtor is
               authorized and empowered to (x) execute and deliver to the DIP Lender all other
               documents and instruments necessary or desirable to consummate the transactions
               contemplated thereby, (y) take all other actions necessary or desirable to carry out
               the intent and purpose of the DIP Loan Documents, and (z) otherwise comply
               with the DIP Loan Documents and all requests of the DIP Lender thereunder.

        3.     The Debtor is authorized to borrow up to the full amount of the DIP Commitment
               in DIP Loans in one or more DIP Draws on the terms of the DIP Loan
               Documents, without application to or further order by the Court.

        4.     All interest, fees, and expenses (expressly including all DIP Lender Expenses)
               contemplated by the DIP Loan Documents are authorized to be incurred by the
               Debtor as DIP Obligations and approved for payment as DIP Claims, without
               application to or further order by the Court.

        5.     All DIP Obligations, pursuant to Code § 364(c)(1), constitute DIP Claims,
               payable from and having recourse to all property of the Debtor's estate (expressly
               including all DIP Collateral).

        6.     The DIP Lender holds security interests in and liens on all DIP Collateral, which
               the Debtor has (to the extent of its right, title, and interest therein) assigned and
               conveyed as security, hypothecated, mortgaged, pledged, and set over and unto
               the DIP Lender, and which have been automatically perfected notwithstanding
               any notice or recordation requirements of non-bankruptcy law (collectively, the
               “DIP Liens”), comprising:

               a.      Pursuant to Code § 364(c)(2), senior DIP Liens on all DIP Collateral not
                       subject to Existing Liens;

               b.      Pursuant to Code § 364(c)(3), junior DIP Liens on all DIP Collateral
                       subject to Existing Liens

               c.      Pursuant to Code § 364(d)(1), equal DIP Liens on all DIP Collateral
                       subject to Existing Liens, other than Permitted Senior Liens; and

               d.      Pursuant to Code § 364(d)(1), senior DIP Liens on all DIP Collateral
                       subject to Existing Liens, other than Permitted Senior Liens.

        7.     The proceeds of the DIP Loans shall be used by the Debtor exclusively to (a) pay
               DIP Lender Expenses, (b) pay all other DIP Obligations, and (c) pay other
               amounts permitted under the Budget; provided that no portion of the DIP Loans

 ORDER GRANTING MOTION TO (I) ENTER INTO DEBTOR POSSESSION CREDIT AGREEMENT, (II) GRANT
 PRIMING LIENS UNDER CODE SEC. 364(D), AND (III) PROVIDE RELATED RELIEF — Page 4 1943767.DOCX [1]
23-03004-cgb Doc#139-5 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 5. DIP Order
                                    Pg 5 of 10



               shall be used for fees, costs, or expenses incurred by any party in (x) investigating
               or pursuing any claim or cause of action against the DIP Lender, any Affiliate
               thereof, or any other Indemnified Person or (y) questioning or challenging, or
               taking any other action that could reasonably be expected otherwise to impair, any
               DIP Loan, DIP Lien, DIP Claim, DIP Obligation, DIP Loan Document, or right or
               remedy of the DIP Lender.

        8.     So long as any DIP Obligation remains outstanding, the Debtor shall perform
               each covenant contained in the DIP Loan Documents (other than those covenants
               that, under the DIP Loan Documents, shall survive full and indefeasible payment
               of the DIP Obligations).

        9.     The DIP Loans shall mature, and all DIP Obligations shall be immediately due
               and payable upon the Maturity Date.

        10.    An Event of Default shall exist during the occurrence and continuation of each of
               the events so identified in the DIP Loan Documents.

        11.    Notwithstanding Code § 362, while any Event of Default has occurred and is
               continuing, the DIP Lender may immediately, without further order of or
               application to the Bankruptcy Court:

               a.      declare the DIP Commitment terminated;

               b.      declare all DIP Obligations immediately due and payable, without the
                       requirement of presentment, demand, protest, or any other notice, all of
                       which are waived by the Debtor;

               c.      terminate the Debtor's access to any DIP Blocked Account; and

               d.      set off against any outstanding DIP Obligation all amounts held in the DIP
                       Blocked Accounts (less, cumulatively across such accounts, the amount of
                       the Triggered Carveout Cap (as defined below)).

        12.    Furthermore, while any Event of Default has occurred and is continuing, the DIP
               Lender may move or apply to the Bankruptcy Court for entry of an order:

               a.      terminating the automatic stay with respect to any DIP Collateral;

               b.      terminating the Debtor's exclusivity to propose Chapter 11 plan;

               c.      appointing an examiner or Chapter 11 trustee; and

               d.      converting the Debtor's Case to Chapter 7;

               provided that if the DIP Lender so moves or applies, the Debtor shall be limited to
               contesting solely whether the Event of Default has occurred and/or is continuing,



 ORDER GRANTING MOTION TO (I) ENTER INTO DEBTOR POSSESSION CREDIT AGREEMENT, (II) GRANT
 PRIMING LIENS UNDER CODE SEC. 364(D), AND (III) PROVIDE RELATED RELIEF — Page 5 1943767.DOCX [1]
23-03004-cgb Doc#139-5 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 5. DIP Order
                                    Pg 6 of 10



               and the Debtor has expressly waived the right to contest such relief whatsoever
               beyond the foregoing limitation.

        13.    In addition to the rights and remedies enumerated in Paragraphs 11 and 12, the
               DIP Lender shall be entitled, while any Event of Default has occurred and is
               continuing, to pursue all rights and remedies available to it under the Bankruptcy
               Code (whether as a creditor, party in interest, or otherwise) or as a secured party
               under the Uniform Commercial Code. For the avoidance of doubt, all costs
               incurred by the DIP Lender in connection any default or Event of Default under
               any DIP Loan Document shall constitute DIP Lender Expenses and DIP
               Obligations for all purposes.

        14.    In consideration of the DIP Lender's (x) consent to the current payment of
               administrative expenses of the Debtor's estate to the extent of the Budget and
               (y) concessions with respect to the Carveout (defined below), as described
               Paragraph 15, the DIP Lender is entitled to a full and complete waiver, with
               respect to all parties, of Code § 506(c) and in no event shall any the DIP Lender
               or DIP Collateral be subject to any “surcharge” or the doctrine of “marshalling”
               by any party in any way whatsoever.

        15.    Unless and until the Carveout Trigger Date (defined below), the Debtor shall pay
               administrative expenses of the Case in the ordinary course as permitted by the
               Budget (including the fees of counsel of the Debtor as approved by the Court on
               an interim and/or final basis). Notwithstanding the Budget or anything else herein
               or in any other DIP Loan Document to the contrary, from and after the date of
               delivery (the “Carveout Trigger Date”) by the DIP Lender to the counsel to the
               Debtor and the Office of the United States Trustee (the “UST”) of notice that both
               (a) an Event of Default has occurred and is continuing and (b) the DIP Lender has
               triggered the Carveout (a “Carveout Trigger Notice”), such administrative
               expenses shall be funded solely from an amount (the “Carveout”), not to exceed
               2.50% of the DIP Loans then outstanding, to be set aside solely for (x) fees,
               expenses, and costs then due and payable to the UST and/or Clerk of the Court
               under 28 U.S.C. § 1930 plus (y) potential future fees, expenses, and costs of a
               statutory trustee appointed in the Debtor's case (together, the “Triggered Carveout
               Cap”); provided that in no event shall:

               a.      payment of any amount contemplated by the Carveout or any portion of
                       the Triggered Carveout Cap constitute a personal liability of the DIP
                       Lender, any Affiliate, or any other Indemnified Person; or

               b.      any such amount be used to fund fees, costs, or expenses incurred in
                       (x) investigating or pursuing any claim or cause of action against the DIP
                       Lender, any Affiliate thereof, or any other Indemnified Person or (y)
                       questioning or challenging, or taking any other action that could
                       reasonably be expected otherwise to impair, any DIP Loan, DIP Lien, DIP
                       Claim, DIP Obligation, DIP Loan Document, or right or remedy of the
                       DIP Lender.

 ORDER GRANTING MOTION TO (I) ENTER INTO DEBTOR POSSESSION CREDIT AGREEMENT, (II) GRANT
 PRIMING LIENS UNDER CODE SEC. 364(D), AND (III) PROVIDE RELATED RELIEF — Page 6 1943767.DOCX [1]
23-03004-cgb Doc#139-5 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 5. DIP Order
                                    Pg 7 of 10



               For the avoidance of doubt, (i) from and after the Carveout Trigger Date, the
               Debtor shall pay administrative expenses (irrespective of when incurred) solely as
               permitted under the Carveout, and (ii) the fees of the U.S. Trustee shall be paid in
               full by the Debtor and/or from proceeds of the DIP Loan.

        16.    The automatic stay imposed by Code § 362(a) is and shall remain modified to the
               extent necessary to implement and effectuate in full this Final DIP Order and the
               other DIP Loan Documents (expressly including any exercise of rights and
               remedies by the DIP Lender) and the transactions contemplated thereby.

        17.    Any stay, modification, reversal, or vacation of this Final DIP Order shall not, in
               any way whatsoever, affect any DIP Loan, DIP Lien, DIP Claim, DIP Obligation,
               other DIP Loan Document, or right or remedy of the DIP Lender.
               Notwithstanding any such stay, modification, reversal, or vacation, all DIP Loans,
               DIP Liens, DIP Claims, DIP Obligations, other DIP Loan Documents, and rights
               and remedies of the DIP Lender made, available, and/or in effect prior to the
               effective date of such stay, modification, reversal, or vacation shall be governed
               in all respects by this Final DIP Order as originally entered by the Court. The
               DIP Lender is entitled to and shall have in all cases the protections of Code
               § 364(e) with respect to all DIP Loans, DIP Liens, DIP Claims, DIP Obligations,
               other DIP Loan Documents, and rights and remedies and shall be so protected
               notwithstanding any stay, modification, reversal, or vacation of this Final DIP
               Order.

        18.    This Final DIP Order shall survive entry of any order, in this Court or any other
               court of competent jurisdiction, (w) confirming a Chapter 11 plan (and, to the
               extent not satisfied in full in cash on the effective date thereof, the DIP
               Obligations shall not be discharged under or by entry of such order,
               notwithstanding Code § 1141(d)), (x) appointing an examiner or Chapter 11
               trustee, (y) converting the Case to a case under Bankruptcy Code Chapter 7, or
               (z) dismissing the Case. This Final DIP Order, together with all DIP Loans, DIP
               Liens, DIP Claims, DIP Obligations, other DIP Loan Documents, and rights and
               remedies of the DIP Lender shall continue in full force and effect,
               notwithstanding the entry of any such order, until full and indefeasible payment of
               all DIP Obligations.

        19.    In the event of any inconsistency between any other DIP Loan Document and this
               Final DIP Order, the terms hereof shall govern.

        20.    Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d), 7062, and 9014,
               or anything else in the Bankruptcy Rules or any other applicable rule of
               procedure, this Final DIP Order shall be valid, take full effect, and be enforceable
               immediately upon entry hereof. There shall be no stay of execution or
               effectiveness of this Final DIP Order, all of which are hereby waived for cause
               shown.




 ORDER GRANTING MOTION TO (I) ENTER INTO DEBTOR POSSESSION CREDIT AGREEMENT, (II) GRANT
 PRIMING LIENS UNDER CODE SEC. 364(D), AND (III) PROVIDE RELATED RELIEF — Page 7 1943767.DOCX [1]
23-03004-cgb Doc#139-5 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 5. DIP Order
                                    Pg 8 of 10



        21.    The Court has and shall retain jurisdiction to enforce this Final DIP Order,
               including to hear any motion or application by the DIP Lender related hereto or to
               any other DIP Loan Document, according to its terms.

        22.    NO LIEN GRANTED HEREIN TO THE DIP LENDER SHALL PRIME
               ANY STATUTORY LIEN OF ANY GOVERNMENTAL UNIT FOR AD
               VALOREM PROPERTY TAXES.

        23.    The DIP Lender shall not assert the Debtor is a “single asset real estate” type of
               debtor nor assert any rights or seek any relief with respect to Code §362(d)(3).

        24.    The Debtor is authorized upon the Effective Date of the DIP Loan to advance to
               proposed counsel for the Debtor and/or counsel employed by the Debtor the funds
               indicated in the Budget for counsel and/or the carve out for Counsel, which funds
               counsel shall hold in trust pending interim and/or final approval of fees for such
               counsel.

        25.    As adequate protection and as part of the initial advance(s) under the Budget, and
               not later than April 16, 2021, the Lender shall pay, as part of the DIP Loan
               availability, by wire transfer to City Bank the amount of $2,705,661.10, plus all
               accrued post-petition interest and all accrued pre-petition and post-petition
               attorneys’ fees, in full satisfaction of the claim of City Bank, whereupon City
               Bank shall execute and deliver to the Debtor a release of any and all liens of City
               Bank in, or, against any property of the Debtor and/or the DIP Collateral;
               provided, however, until such time as City Bank has received payment in full, any
               advances under the DIP Loan, including DIP Obligations and DIP Claims, shall
               not prime City Bank’s Deed of Trust lien on the DIP Collateral or any property of
               the Debtor and its Bankruptcy Estate pursuant to § 364 of the Bankruptcy Code;
               and provided, further, upon payment of City Bank in full, the automatic stay, to
               the extent necessary, is modified to allow City Bank to apply the payment against
               the indebtedness owed.

        26.    With respect to New Mexico Real Estate Advisors, Inc.             d/b/a    Colliers
               International (together, “NMREA”), the following shall apply.

               a.      With the initial advance under the Budget, the Debtor is authorized and
                       directed to pay New Mexico Real Estate Advisors, Inc, (“NMREA”) the
                       amount of $168,862.00.

               b.      Upon receipt of $168,862.00 NMREA shall execute and deliver to the
                       Debtor a release of any and all liens of NMREA in, or, against any
                       property of the Debtor and/or the DIP Collateral.

               c.      An additional sum of $188,862.68 will be escrowed with a mutually
                       agreeable third party (the “Escrow Fund”), which escrow amount will be
                       funded by equal contributions during weeks 1-6 of Budget from funds
                       advanced under DIP Loan.


 ORDER GRANTING MOTION TO (I) ENTER INTO DEBTOR POSSESSION CREDIT AGREEMENT, (II) GRANT
 PRIMING LIENS UNDER CODE SEC. 364(D), AND (III) PROVIDE RELATED RELIEF — Page 8 1943767.DOCX [1]
23-03004-cgb Doc#139-5 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 5. DIP Order
                                    Pg 9 of 10



               d.      NMERA and Debtor each reserves all rights, remedies, facts, claims,
                       issues, and/or defenses with respect to the Escrowed Funds. The
                       Escrowed Funds will be disbursed only upon mutual written agreement
                       and/or order of the Court.

               e.      NMERA reserves the right to seek recovery of attorney fees and/or
                       interest against the Escrowed Funds.

               f.      Interest shall accrue only when the second one-half of the commissions
                       (which commissions are referenced and described in the NMREA lien
                       filings) becomes payable under the operative contract(s).

               g.      NMREA shall adhere to the confidentially provisions of the Listing
                       Agreement between PDG-P and NMREA and/or related to the subject real
                       property.




                                               ###
 Submitted by:
 Jeff Carruth (TX SBN: 24001846)
 WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
 3030 Matlock Rd. Suite 201
 Arlington, Texas 76105
 Telephone: (713) 341-1158
 Fax: (866) 666-5322
 E-mail: jcarruth@wkpz.com

 PROPOSED ATTORNEYS FOR
 PDG-PRESTIGE, INC.,
 DEBTOR AND DEBTOR IN POSSESSION



                                 {continued on following sheet}




 ORDER GRANTING MOTION TO (I) ENTER INTO DEBTOR POSSESSION CREDIT AGREEMENT, (II) GRANT
 PRIMING LIENS UNDER CODE SEC. 364(D), AND (III) PROVIDE RELATED RELIEF — Page 9 1943767.DOCX [1]
23-03004-cgb Doc#139-5 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 5. DIP Order
                                   Pg 10 of 10



 AGREED:


 Respectfully submitted:

 WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

 By:       /s/ Jeff Carruth
       JEFF CARRUTH (TX SBN:. 24001846)
       3030 Matlock Rd., Suite 201
       Arlington, Texas 76105
       Telephone: (713) 341-1158
       Fax: (866) 666-5322
       E-mail: jcarruth@wkpz.com

 PROPOSED ATTORNEYS FOR PDG PRESTIGE, INC.
 DEBTOR AND DEBTOR IN POSSESSION

 MULLIN HOARD &BROWN, LLP

 By:      /s/ Brad W. Odell*
        Brad W. Odell, SBN: 24065839
        P. O. Box 2585
        Lubbock, Texas 79408-2585
        Tel: (806) 765-7491
        Fax: (806) 765-0553
        Email: bodell@mhba.com

 ATTORNEYS FOR CITY BANK


 KEMP SMITH LLP

 By:      /s/ James W. Brewer*
          James W. Brewer
          SBN 02965200
          P.O. Box 2800
          EI Paso, Texas 79999-2800
          Tel: 915.533.4424
          Fax: 915.546.5360
          james.brewer@kempsmith.com

 ATTORNEYS FOR NEW MEXICO REAL ESTATE
 ADVISORS, INC. D/B/A COLLIERS
 INTERNATIONAL

 *Signature by permission by /s/ Jeff Carruth



 ORDER GRANTING MOTION TO (I) ENTER INTO DEBTOR POSSESSION CREDIT AGREEMENT, (II) GRANT
 PRIMING LIENS UNDER CODE SEC. 364(D), AND (III) PROVIDE RELATED RELIEF — Page 10 1943767.DOCX [1]
